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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                CHAPTER 7 PROCEEDING
DANIEL W TUTOR, DEBTOR                                                 CASE NO. 19-10542-SDM

NATIONSTAR MORTGAGE LLC D/B/A MR.
COOPER                                                                                  PLAINTIFF

VS.

DANIEL W TUTOR, DEBTOR                                                               DEFENDANT


                        MOTION FOR RELIEF FROM AUTOMATIC STAY
                                 AND FOR OTHER RELIEF

          COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper, a party in interest in this

cause, by and through its attorney, and moves this Court to lift the automatic stay as to certain

property of the Debtor, and for other relief, and in support of said motion would respectfully

show unto the Court the following to wit:

                                                  I.

          That on or about February 7, 2019, the above named Debtor filed a voluntary petition in

Bankruptcy pursuant to 11 U.S.C. Chapter 7. By operation of 11 U.S.C. 362, the Plaintiff is

prohibited from commitment of any judicial proceeding against the Defendant, any act to obtain

possession of property of the estate, or any act to enforce any lien against the property of the

estate.

                                                 II.

          That the Bankruptcy Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

1471 and 11 U.S.C. 362.
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                                             III.

       That on or about October 18, 2007, DANIEL TUTOR and AMANDA S TUTOR, did

execute a certain Note and Deed of Trust in favor of Countrywide Bank, FSB and secured by the

following real property located at 1009 County Road 821, Saltillo, MS 38866:

       THE FOLLOWING DESCRIBED PROPERTY SITUATE IN LEE COUNTY,
       MISSISSIPPI, AND MORE PARTICULARLY DESCRIBED AS FOLLOWS, TO WIT:

       TRACT 1. COMMENCING AT THE NORTHWEST CORNER OF THE
       NORTHWEST QUARTER OF SECTION 15, TOWNSHIP 8 SOUTH, RANGE 6
       EAST, LEE COUNTY, MISSISSIPPI, AND RUN THENCE SOUTH 2156 FEET;
       THENCE RUN EAST FOR 1019.5 FEET TO A POINT THAT IS 100 FEET FROM
       THE NORMAL HIGH WATER LINE OF LAKE LAMAR BRUCE; THENCE RUN
       ALONG SAID HIGH WATER LINE AS FOLLOWS: NORTH 4 DEGREES 04
       MINUTES WEST 39.9 FEET; THENCE NORTH 42 DEGREES, 17 MINUTES WEST
       12.05 FEET FOR A POINT OF BEGINNING; THENCE CONTINUING ALONG SAID
       HIGH WATER LINE AS FOLLOWS: RUN NORTH 42 DEGREES, 17 MINUTES
       WEST FOR 161.08 FEET; THENCE NORTH 32 DEGREES, 13 MINUTES WEST
       FOR 114.4 FEET; THENCE RUN NORTH 28 DEGREES, 06 MINUTES WEST FOR
       86 FEET; THENCE NORTH 32 DEGREES, 52 MINUTES WEST FOR 111.7 FEET;
       THENCE SOUTH 84 DEGREES, 19 MINUTES EAST FOR 150.0 FEET; THENCE
       SOUTH 30 DEGREES 56 MINUTES EAST FOR 94.0 FEET; THENCE SOUTH 74
       DEGREES 51 MINUTES EAST FOR 69.5 FEET; THENCE NORTH 47 DEGREES 57
       MINUTES EAST FOR 154.5 FEET TO A POINT WHERE SAID HIGH WATER LINE
       INTERSECTS AN OLD FENCE LINE; THENCE LEAVING SAID HIGH WATER
       LINE, RUN EAST ALONG SAID FENCE LINE FOR 72.5 FEET TO AN OLD IRON
       PIN; THENCE RUN SOUTH 25 DEGREES 47 MINUTES WEST FOR 416 88 FEET
       TO THE POINT OF BEGINNING.

       TRACT II. COMMENCING AT THE NORTHWEST CORNER OF THE
       NORTHWEST QUARTER OF SECTION 15, TOWNSHIP 8 SOUTH, RANGE 6
       EAST, LEE COUNTY, MISSISSIPPI, AND RUN THENCE SOUTH 2156 FEET;
       THENCE RUN EAST FOR 1019.5 FEET TO A POINT THAT IS 100 FEET FROM
       THE NORMAL HIGH WATER LINE OF LAKE LAMAR BRUCE FOR A POINT OF
       BEGINNING; THENCE RUN ALONG SAID HIGH WATER LINE AS FOLLOWS;
       NORTH 4 DEGREES, 04 MINUTES WEST FOR 39.9 FEET; THENCE RUN NORTH
       42 DEGREES, 17 MINUTES WEST FOR 8.25 FEET; THENCE LEAVING SAID
       HIGH WATER LINE, RUN EAST ALONG THE SOUTH LINE OF THE MAY
       PROPERTY FOR 206.10 FEET TO AN OLD IRON PIN ON THE WEST LINE OF
       OLD NATCHEZ TRACE ROAD; THENCE RUN SOUTH25 DEGREES 47 MINUTES
       WEST FOR 51.0 FEET; THENCE RUN WEST FOR 175.54 FEET IN THE POINT OF
       BEGINNING.
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       BOTH TRACT I AND TRACT II LYING AND BEING IN THE NORTHWEST
       QUARTER OF SECTION 15, TOWNSHIP 8 SOUTH, RANGE 6 EAST, LEE
       COUNTY, MISSISSIPPI, AND HAVING A COMBINED AREA OF 1.9 ACRES,
       MORE OR LESS.

       BY FEE SIMPLE DEED FROM DALE BROCK AND ANN BROCK AS SET FORTH
       IN DEED BOOK 1813, PAGE 284 AND RECORDED ON 12/17/1998, LEE COUNTY
       RECORDS.

       THE SOURCE DEED AS STATED ABOVE IS THE LAST RECORD OF VESTING
       FILED FOR THIS PROPERTY. THERE HAVE BEEN NO VESTING CHANGES
       SINCE THE DATE OF THE ABOVE REFERENCED SOURCE.

Said Deed of Trust is recorded in the Lee County Chancery Clerk’s office as Instrument No.

2007018041. Further, said Note and Deed of Trust were subsequently assigned to Plaintiff by

assignment recorded in the office of the Chancery Clerk aforesaid. A copy of said Deed of Trust

attached hereto as an Exhibit as though fully copied herein. Additionally, attached are redacted

copies of any documents that support the claim, such as promissory notes, purchase order,

invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security

agreements in support of right to seek a lift of the automatic stay and foreclose if necessary. The

value of the subject property is $84,680.00 according to the Lee County Property Link attached

as Exhibit 1.

                                                IV.

       That the Defendant has defaulted in the payment of the current months' indebtedness and

is now due and owing for the December 1, 2018 payment and all subsequent payments. That as

of February 8, 2019, Plaintiff is due $1,319.65, plus all payments and charges that accrue

hereafter. As of February 8, 2019, the payoff amount is $96,500.56.

                                                V.

       Plaintiff would show that sufficient cause exists for the termination, annulment or

modification of the automatic stay as provided in 11 U.S.C.362 (d) (1) because of the failure of
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the Defendant to make the payments set forth above and because there is no equity in the

property. That the current market value of subject property is $84,680.00. That the current total

outstanding indebtedness is $96,500.56 and because subject property is of inconsequential value

or benefit to the estate and further that the Trustee should abandon the property pursuant to 11

U.S.C. §554(b). Plaintiff would urge the Court to terminate, modify or lift the automatic stay

and abandon the subject property from the estate of the Debtor, so as to allow the Plaintiff to

pursue all remedies available to it under the terms and conditions of said Deed of Trust, and

applicable state law, including initiation of foreclosure proceedings. Plaintiff further asks for

attorney fees and court costs incurred. Plaintiff also requests that the 14-day stay imposed by

FRBP 4001(a)(3) be waived.

       WHEREFORE, PREMISES CONSIDERED, Nationstar Mortgage LLC d/b/a Mr.

Cooper files this Motion and prays that the automatic stay afforded by 11 U.S.C. 362 be

terminated, modified or lifted, after notice and hearing, so as to allow Plaintiff to pursue its

remedies and to initiate foreclosure proceedings against the property which is subject to said

Deed of Trust, that the Trustee be ordered to abandon the property from the estate pursuant to 11

U.S.C. §554(b) and for attorney's fees and costs incurred. Plaintiff also requests that the 14-day

stay imposed by FRBP 4001(a)(3) be waived.


                                               Respectfully submitted
                                               SHAPIRO & BROWN, LLC



                                               /s/ J. Gary Massey
                                                   J. Gary Massey
                                                   Attorney for Creditor
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                                CERTIFICATE OF SERVICE

        I, J. Gary Massey, of the firm of Shapiro & Brown, LLC, do hereby certify that I have
this date provided a copy of the foregoing Motion for Relief either by electronic case filing or by
United States mail postage pre-paid to the following:

Henry J. Applewhite, Chapter 7 Trustee
happlewhite@applewhitelaw.com

Dalton Middleton, Middleton Law Office, PLLC, Attorney for the Debtor
rb@MLawMS.com

Office of the U.S. Trustee
USTPRegion05.AB.ECF@usdoj.gov

Daniel W Tutor
1009 County Road 821
Saltillo, MS 38866


       Dated: February 14, 2019

                                             Respectfully submitted
                                             SHAPIRO & BROWN, LLC



                                             /s/ J. Gary Massey
                                                 J. Gary Massey
                                                 Attorney for Creditor

Presented by:
J. Gary Massey, MSB#1920
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                                                                                         EXHIBIT 1
                                    Property Link
                                       LEE COUNTY, MS
                                                                 Tax Year 2018
                    Current Date 2/12/2019
                                                  Records Last Updated 2/11/2019
                                         PROPERTY DETAIL
                    OWNER       BRYAN AMANDA S                  ACRES : 1.90
                                1009 RD 821             LAND VALUE : 20380
                                                    IMPROVEMENTS : 64300
                                SALTILLO MS 38866      TOTAL VALUE: 84680
                                                            ASSESSED : 8499
                    PARCEL
                    ADDRESS 1009 RD 821
                                      TAX INFORMATION
                    YEAR 2018     TAX DUE      PAID            BALANCE
                    COUNTY        200.83       200.83          0.00
                    CITY          0.00         0.00            0.00
                    SCHOOL        422.83       422.83          0.00
                    TOTAL         623.66       623.66          0.00
                          LAST PAYMENT DATE 1 / 14 / 2019
                               MISCELLANEOUS INFORMATION
                    EXEMPT CODE               LEGAL LOT SW1/4 NW1/4
                    HOMESTEAD CODE REG                B 1819 P 284 12/17/1998
                    TAX DISTRICT       100R
                    PPIN               002700
                    SECTION            15
                    TOWNSHIP           08S
                    RANGE              06E

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                                 PURCHASE COUNTY TAX SALE FILES

                             TAX SALES HISTORY, FOR UNPAID TAXES
                    Year                Sold To         Redeemed Date/By
                                    **NO TAX SALES FOUND**


                             View Appraisal Record




http://www.deltacomputersystems.com/cgi-                                           ...   2/12/2019
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Daniel W Tutor                                               Court Case# 19-10542-SDM


                              RIGHT TO FORECLOSE
Nationstar Mortgage Llc D/B/A Mr. Cooper services the loan on the property referenced in this proof
of claim. In the event the automatic stay in this case is modified, this case dismisses, and/or the debtor
obtains a discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure
will be conducted in the name of " Nationstar Mortgage Llc D/B/A Mr. Cooper" Noteholder.

Noteholder directly or through an agent, has possession of the promissory note. The promissory note is
either made payable to Noteholder or has been duly endorsed. Noteholder is the original mortgagee, or
beneficiary, or the assignee of the security instrument for the referenced loan.
